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13                                UNITED STATES DISTRICT COURT
14                               NORTHERN DISTRICT OF CALIFORNIA
15   IN RE: ROUNDUP PRODUCTS LIABILITY          Case No. 3:16-md-02741-VC
     LITIGATION
16                                              MDL No. 2741
17   This document relates to:                  DEFENDANT MONSANTO COMPANY’S
                                                REQUEST FOR JUDICIAL NOTICE IN
18   Jeffrey Baum v. Monsanto Co.,              SUPPORT OF OPPOSITION TO
     Case No. 3:19-cv-01018-VC                  PLAINTIFFS’ MOTION TO REMAND
19
                                                Date: May 22, 2019
20                                              Time: 10:00 a.m.
                                                Courtroom: 4
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       MONSANTO’S REQUEST FOR JUDICIAL NOTICE ISO OPP’N TO PLAINTIFFS’ MOTION TO REMAND
                               3:16-md-2741-VC & 3:19-cv-01018-VC
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 1          Pursuant to Rule 201 of the Federal Rules of Evidence, defendant Monsanto Company
 2   (“Monsanto”) requests that the Court take judicial notice of the following exhibits attached hereto in
 3   support of Monsanto’s Opposition to Plaintiffs’ Motion to Remand:
 4          Exhibit 1: A true and correct copy of the January 25, 2019 Order issued by the Superior
 5   Court for Alameda County, California in JCCP No. 4953 (“JCCP Severance Order”). In re
 6   Roundup Prods. Cases, No. JCCP 4953 (Cal. Super. Ct. Alameda Cty. Jan. 25, 2019).
 7          Exhibit 2: A true and correct copy of the July 14, 2017 Order issued by the Superior Court
 8   for Alameda County, California in the Billings case. Billings v. Monsanto Co., No. RG17852375
 9   (Cal. Super. Ct. Alameda Cty. July 14, 2017).
10          Exhibit 3: A true and correct copy of the July 26, 2017 Order issued by the Superior Court
11   for Alameda County, California in the Woodbury case. Woodbury v. Monsanto Co., No.
12   RG17855094 (Cal. Super. Ct. Alameda Cty. July 26, 2017).
13          Exhibit 4: A true and correct copy of the January 22, 2019 Tentative Ruling issued by the
14   Superior Court for Alameda County, California in JCCP No. 4953. In re Roundup Prods. Cases,
15   No. JCCP 4953 (Cal. Super. Ct. Alameda Cty. Jan. 22, 2019).
16          Exhibit 5: A true and correct copy of the October 26, 2017 Defendants’ Case Management
17   Conference Statement filed by Defendants in numerous Roundup® cases pending in the Superior
18   Court for Alameda County, California, including the Pennie case. Pennie v. Monsanto Co., No.
19   RG17853420 (Cal. Super. Ct. Alameda Cty. Oct. 26, 2017) (also filed in other Roundup® cases).
20          Exhibit 6: A true and correct copy of the November 9, 2017 Case Management Order
21   issued by the Superior Court for Alameda County, California in numerous Roundup® cases,
22   including the Pennie case. Pennie v. Monsanto Co., No. RG17853420 (Cal. Super. Ct. Alameda
23   Cty. Nov. 9, 2017) (order also entered in other Roundup® cases).
24          Exhibit 7: A true and correct copy of Case Management Order No. 14 issued by the
25   Superior Court for Alameda County, California in JCCP No. 4953 on September 6, 2018. In re
26   Roundup Prods. Cases, No. JCCP 4953 (Cal. Super. Ct. Alameda Cty. Sept. 6, 2018).
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       MONSANTO’S REQUEST FOR JUDICIAL NOTICE ISO OPP’N TO PLAINTIFFS’ MOTION TO REMAND
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 1           Rule 201(b)(2) requires a federal court to take judicial notice “if a party requests it and the
 2   court is supplied with the necessary information.” Thus, district court judges repeatedly have taken
 3   judicial notice of various types of state court orders and parties’ litigation filings that are part of a
 4   state court file because “[p]ublic records, including judgments and other court documents, are
 5   proper subjects of judicial notice.” Loumena v. Kennedy, No. 15-CV-00951-LHK, 2015 WL
 6   5963988, at *6 (N.D. Cal. Oct. 13, 2015), aff’d, 671 F. App’x 446 (9th Cir. 2016); see, e.g.,
 7   Rasooly v. California, No. 14-cv-04521-JSC, 2015 WL 1222167, at *2 n.4 (N.D. Cal. Mar. 17,
 8   2015) (taking judicial notice of state court orders and filings available in state court’s file), aff’d,
 9   691 F. App’x 432 (9th Cir. 2017). Moreover, it is appropriate for a federal court to take judicial
10   notice, for a limited purpose, of the existence of a state court’s tentative ruling. See Lee v. Bender,
11   No. C 04-2637 SBA, 2005 WL 1388968, at *8-9 (N.D. Cal. May 11, 2005).
12           Here, Monsanto requests that this Court take judicial notice of the JCCP Severance Order
13   (Exhibit 1) issued by Judge Smith for the purpose of determining that Judge Smith ordered
14   severance of each plaintiff’s claims in this multi-plaintiff lawsuit from each other plaintiff’s claims
15   by requiring the filing of single-plaintiff complaints. Monsanto asks this Court to take judicial
16   notice of the misjoinder/severance rulings issued in the Billings case (Exhibit 2) and the Woodbury
17   case (Exhibit 3) because Judge Smith cited those rulings with approval in the JCCP Severance
18   Order. The Court also should take judicial notice of Judge Smith’s January 22, 2019 Tentative
19   Ruling (Exhibit 4) for the limited purpose of: (a) comparing Paragraph 2 of that tentative ruling to
20   the corresponding Paragraph 2 of the final ruling issued by Judge Smith on January 25, 2019 – the
21   JCCP Severance Order; and (b) determining that, after plaintiffs’ counsel’s argument at the January
22   25, 2019 hearing (transcript excerpts attached as Exhibit 1 to the accompanying Declaration of
23   Martin Calhoun), Judge Smith issued her final ruling in the JCCP Severance Order with a revised
24   Paragraph 2 that gave plaintiffs substantial additional time to effectuate the JCCP Severance Order
25   by filing individual complaints. In addition, Monsanto requests that this Court take judicial notice
26   of the October 26, 2017 Defendants’ Case Management Conference Statement filed in numerous
27   Roundup® cases in the Superior Court for Alameda County, California (Exhibit 5), because that
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       MONSANTO’S REQUEST FOR JUDICIAL NOTICE ISO OPP’N TO PLAINTIFFS’ MOTION TO REMAND
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 1   filing shows that, when the Alameda County Roundup® litigation was re-assigned to Judge Petrou,
 2   Monsanto reiterated its prior objections to multi-plaintiff complaints and sought severance. This
 3   Court should also take judicial notice of the November 9, 2017 Case Management Order (Exhibit
 4   6) issued by the Superior Court for Alameda County, California, in numerous Roundup® cases, for
 5   the purpose of recognizing that Judge Petrou ordered that the prior severance orders issued in the
 6   Alameda County Roundup® litigation “remain in full force and effect” and directed plaintiffs in a
 7   multi-plaintiff Roundup® lawsuit to “file new, separate single-plaintiff complaints.” Finally, this
 8   Court should take judicial notice of Case Management Order No. 14 (Exhibit 7) issued by Judge
 9   Petrou on September 6, 2018, because that order deferred any obligation for Monsanto to file
10   responses of any type – including answers, motions, or demurrers – to complaints in “multi-
11   plaintiff lawsuits that have been or will be added to JCCP 4953 . . . until a date to be determined by
12   the Court.”
13          For the foregoing reasons, Monsanto requests that the Court take judicial notice of the
14   seven attached exhibits.
15   DATED: May 7, 2019                                       Respectfully submitted,
16
                                                              /s/ Eric G. Lasker
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